                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        Case No. 1:17-CV-184 (CCE) (LPA)

    BARRY HONIG, an individual,

                       Plaintiff,

          v.

    ROBERT LADD, and individual;                    NOTICE OF APPEARANCE
    MGT CAPITAL INVESTMENTS,
    INC., a Delaware corporation; TERI
    BUHL, an individual; and DOES 1-20,

                       Defendants.


         The undersigned, Eric M. David, an attorney admitted to practice in this Court,

hereby gives notice of appearance as counsel of behalf of Defendant Teri Buhl.1

         Dated: June 14, 2017

                                          /s/ Eric M. David
                                          Eric M. David
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                                          Attorney for Defendant Teri Buhl



1
 Counsel makes this limited appearance only to record its representation and does not
hereby waive, but to the contrary, expressly reserves, all defenses on behalf of Defendant
Teri Buhl, including defenses based on lack of personal jurisdiction.




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                            CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2017, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send email notification of such

filing to the following:

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                                                   /s/ Eric M. David
                                                   Eric M. David




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